Case 3:22-cv-00493-MMH-LLL Document 92 Filed 11/22/22 Page 1 of 3 PageID 7772




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

 JACKSONVILLE BRANCH
 OF THE NAACP, et al.,
       Plaintiffs,
                                               Case No. 3:22-cv-493-MMH-LLL
 v.
 CITY OF JACKSONVILLE, et al.,
       Defendants.
                                     /

            NOTICE OF FILING CORRECTED FAIRFAX REPORT
                  AND CORRECTED REMEDIAL BRIEF

      As discussed during the November 21 status conference, see ECF 91, Plaintiffs

give notice of filing the attached Corrected Expert Report of Anthony E. Fairfax

(“Corrected Fairfax Report”) and Corrected Objections to the City’s Proposed

Remedial Plan and Submission of Alternative Plans (“Corrected Remedial Brief”).

The Corrected Fairfax Report corrects the following errors in the original Fairfax

Report (ECF 89-1):

      1. First, certain images of P1, P2, and P3 mistakenly assigned a single

         unpopulated census block to D11 instead of D3. These maps appear at pp.

         29, 30, 48, 49, 50, and 100. This correction does not affect any data tables.

      2. Second, one map and one data table for P1 incorrectly reflect the D2/D8

         border copied from Ordinance 2022-800, rather than Plaintiffs’ “adjusted

         and regularized” redrawn border. ECF 90 (Remedial Brief) at 40 n.16. This

         map and table appear at pp. 48 and 133. The printed P1 map delivered to
Case 3:22-cv-00493-MMH-LLL Document 92 Filed 11/22/22 Page 2 of 3 PageID 7773




           the Court on Friday is the correct version.

       3. Additionally, the aesthetic formatting of maps at pp. 46–51 were inconsistent

           with the printed maps Plaintiffs delivered to the Court on Friday. They have

           been updated to reflect the consistent styling of the maps delivered to the

           Court.

       The attached Corrected Remedial Brief replaces the following four corrected

images from the Corrected Fairfax Report:

       1. p. 35 – map of P1 (Fairfax Report at 48) – stray block in D3 and aesthetic

           changes.

       2. p. 36 – map of P2 (Fairfax Report at 49) – stray block in D3 and aesthetic

           changes.

       3. p. 39 – map of P2 and CPACs (Fairfax Report at 100) – stray block in D3.

       4. p. 41 – map of P3 (Fairfax Report at 50) – stray block in D3 and aesthetic

           changes.

       The ECF citation to the Fairfax Report on page 1 is changed from 89-1 to 92-1.

There are no other changes in the Corrected Remedial Brief. The Corrected Fairfax

Report does not affect any data cited or conclusions made in the Remedial Brief.

       The block assignment files for P1, P2, and P3 filed with the Court and shared

with Defense Counsel, and the Google Maps linked at Remedial Brief p. 34 n.13, are

all correct.

       Plaintiffs will promptly deliver courtesy copies of this filing (including new

printed maps) to the Court.

                                            2
Case 3:22-cv-00493-MMH-LLL Document 92 Filed 11/22/22 Page 3 of 3 PageID 7774




       Plaintiffs’ counsel regrets the errors and apologizes for the confusion caused.


       Respectfully submitted on this 22nd day of November, 2022,


 /s/ Nicholas Warren

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